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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                                Case No. 06-cr-40029-JPG

 LARRY D. WILLIAMS,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Larry Williams’s pro se Motion to

Appoint Counsel (Doc. 501). Specifically, Williams seeks the appointment of counsel to assist

in preparation of claims that he intends to file under 28 U.S.C. § 2255.

       Petitioners under § 2255 have no constitutional right under the Sixth Amendment to

representation because such proceedings “are not a part of an original criminal action but are an

independent and collateral inquiry into the validity of the conviction.” United States v. Caufield,

207 F.2d 278, 280 (7th Cir. 1953). With this in mind, “[i]t is firmly established that a request for

counsel in proceedings under [§] 2255 is addressed to the sound discretion of the trial court.”

McCartney v. U.S., 311 F.2d 475, 476 (7th Cir. 1963). However, even this deference is premised

on the initial filing of a § 2255 petition. Here, Williams has yet to file a petition under § 2255;

as such, the Court sees no reason to appoint counsel at this time.

       Due to the foregoing reasons, the Court DENIES the instant motion (Doc. 501).

IT IS SO ORDERED.
DATED: December 7, 2009
                                                              s/ J. Phil Gilbert
                                                              J. PHIL GILBERT
                                                              DISTRICT JUDGE
